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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                   :

              Plaintiff,                    :       CASE NO. 1:21-cr-00321

       vs.                                  :       JUDGE BOASBERG

CALEB JONES,                                :

              Defendant.                    :

                    NOTICE OF APPEARANCE OF COUNSEL

       Samuel H. Shamansky respectfully requests that the Court enter his appearance as

counsel for Defendant, Caleb Jones, in the above-captioned case.

                                                    Respectfully submitted,

                                                    /s/ Samuel H. Shamansky
                                                    SAMUEL H. SHAMANSKY
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                                                    Counsel for Defendant

                            CERTIFICATE OF SERVICE
       The undersigned hereby certifies that a true copy of the foregoing was filed with

the Clerk of Court for the United States District Court for the District of Columbia using

the CM/ECF system, which will send notification of such filing to Brittany LaShaune

Reed, United States Attorney’s Office, 650 Poydras Street, Suite 1600, New Orleans,

Louisiana, 70130 on May 3, 2021.


                                                    /s/ Samuel H. Shamansky
                                                    SAMUEL H. SHAMANSKY
